                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA

___________________________________________
                                            :
POLICE OFFICER KELLY NEAL,                  :              CIVIL ACTION
                                            :
                  Plaintiff,                :
                                            :
            v.                              :              NO. 22-2210
                                            :
POLICE OFFICER JOSE DONES, et al.,          :
                                            :
                  Defendants.               :
___________________________________________ :


                                           ORDER

      AND NOW, this 15th day of December, 2022, following a Rule 16 scheduling conference,

it is hereby ORDERED that:

   1. This case is referred to United States Magistrate Judge David R. Strawbridge for settlement

      purposes. Judge Strawbridge will contact counsel to initiate the settlement process.

   2. All fact discovery shall be completed by July 13, 2023.

   3. Opening expert reports are due no later than August 13, 2023.

   4. Responsive expert reports are due no later than September 13, 2023.

   5. Expert discovery shall be completed no later than October 13, 2023.

   6. Dispositive motions shall be filed no later than November 13, 2023.

   7. All further deadlines will be set pending the outcome of dispositive motions.


                                            BY THE COURT:



                                            /s/ Mitchell S. Goldberg
                                            MITCHELL S. GOLDBERG, J.
